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                    UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          SHERMAN DIVISION

IN THE MATTER OF:                               §
                                                §
DILIP JANA                                      § Civil Action No. 4:24-cv-00698-SDJ-BD
     Plaintiff,

v.
                                                t FILED
WALMART, INC.,                                  § JUL U 2025
     Defenda t.                                 §
                                                                      CLERK, U.S. DISTRICT COURT
                                                                             TEXAS EASTERN

 PLAINTIFF S SUPPLEMENTAL NOTICE IN SUPPORT OF DKT. 77 (OBJECTION
                           TO DKT. 66)



TO THE HONORABLE DISTRICT JUDGE SEAN D. JORDAN:


Plaintiff respectfully files this Supplemental Notice in support of Dkt. 77, Plaintiff s Objections to

Magistrate J dge s [66] Memorandum & Opinion, Order and Request for District Judge Review, to

further demonstrate that Defendant Walmart made material misrepresentations in its Second Motion

for Protective Order (Dkt. 63), and that the Magistrate Judge s ruling in Dkt. 66 was both

procedurally and substantively defective.


Since the filing of Dkt. 77, Plaintiff has submitted two additional pleadings directly relevant to the

issues raised therein:


     1. Dkt. 80 - "PLAINTIFF S MOTION FOR SANCTIONS, PRIVILEGE WAIVER, AND
         FINDING OF FRAUD ON THE COURT UNDER RULES 26(g), 26(b)(5), 37(c), AND THE

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       COURT'S INHERENT AUTHORITY: WALMART S MISREPRESENTATIONS IN DKT 65
       ANDDKT 76



        This motion outlines, in detail, the false representations made by Walmart in its Reply (Dkt.

       65) and Notice (Dkt. 76), and their direct influence on the Court s issuance of the Protective

       Order in Dkt. 66.


   2. Dkt. 81 - PLAINTIFF’S OBJECTION TO MAGISTRATE JUDGE’S STRIKING OF DKT 75
       AND MOTION TO REINSTATE DKT. 75 FOR DISTRICT JUDGE REVIEW UNDER RULE
       72(a)


       This objection addresses the striking of Plaintiff s Motion to Compel (Dkt. 75) less than 25

       minutes after the filing of Dkt. 77, raising serious concerns regarding retaliatory timing,

       procedural irregularities, and unequal enforcement of Local Rule CV-7(h) versus CV-7(i).


Plaintiff respectfully requests that the Court consider Dkt. 80 and Dkt. 81 as part of the record when

evaluating the merits of Dkt. 77, and in determining whether the Magistrate Judge’s issuance of the

Protective Order (Dkt. 66) should be vacated for cause, including discovery misconduct, procedural

impropriety, and fraud upon the Court.


Dated: July 14, 2025

                                                 Respectfully Submitted,




                                          DILIP JANA, Plaintiff
                                                    Pi o Se
                                         Telephone : 318-243-9743
                                          Email: janadili i email.coni
                                          800 Fairlawn St, Alien, TX, 75002




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                                  CERTIFICATE OF SERVICE

On July 14, 2025, a true and correct copy of the foregoing was served upon the following through the

Court s CM/ECF system:

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ATTORNEYS FOR DEFENDANT WALMART INC.
Dated: July 14, 2025

                                                      Respectfully Submitted




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